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IN TI'IE UNITED STATES DISTRICT COUR'I`
SOUTHERN DISTRICT OF ILLINOIS

DERIC REES AND CEONDA .REES, INDIVIDUALLY AND AS
N.EXT FRIEND AND GUARDIAN OF BABY T.W.B. ON
BEI-IALF OF THEMSELVES AND ALL OTHERS

SIMILARLY SITUATED.

Plaintifl`,

VS. CASE NO.: /S 'SH

CLASS ACTION COMPLAINT
MCKESSON CORPORATION;
CARDINAL HEALTl-I, INC.;
AMERISOURCEBERGEN CORPORATION;
PURDUE PHA`RMA L.P.;
PURDUE PHARMA, INC.;
THE PURD`UE FREDERICK COMPANY, INC.;
TEVA PHARMACEUTICAL INDUSTRIES, LTD.;
TEVA PHARMACEUTICALS USA, INC.;
CEPHALON, INC.;
JOHNSON & JOH_NSON;
JANSSEN PHARMACEUTICALS, INC.;
ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC. nfk;'a JANSSEN
PHARMACEUTICALS, INC.;
JANSSEN PHARMACEUTICA INC. nfk!a JANSSEN PHARMACEUTICALS, INC.;
ENDO HEALTH SOLUTIONS INC.;
ENDO PHARMACEUTICALS, INC.;
ALLERGAN PLC fflda ACTAVIS PLC;
WATSON PHARMACEUTICALS, INC. n,"kfa ACTAVIS, INC.;
WATSON LABORATORIES, lNC.;
ACTAVIS LLC; and
ACTAVIS PHARMA, INC. f!kfa WATSON PHARMA, l`NC.,

Defendants.
f

CLASS ACTION COMPLAINT (JURY TRIAL DEMANDED}

Come now the P!aintiff`s and Putative Class Representatives Deric Rees and Ceonda Rees

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as the next friend of Baby T.WB., individually and on behalf of all other similarly situated, and

file suit against the Defendants for damages, equitable, statutory, and injunctive relief allege as

follows:

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IN'I`RODUCTION

l. Like thousands of children born every year, Baby T.W.B, was born addicted to
opioids. Prenatal exposure to opioids causing severe withdrawal symptoms and lasting
developmental impacts. Baby T.W.B. was born on March 2], 201?. The flrst days of Baby
T.W.B.’s life were spent in excruciating pain as doctors weaned the infant from opioid addiction.
Baby T.W.B. will require years of treatment and counseling to deal with the effects of prenatal
exposure Baby T.W.B. and his mother are victims of the opioid crisis that has ravaged Illinois,
causing immense suffering to those born addicted to opioids and great expense to those forced to
deal with the aftermath.

2. At birth, Baby T.W.B. was diagnosed with Neonatal Abstinence Syndrome

(“NAS”), a condition suffered by babies of mothers addicted to opioids. Baby T.W.B. was forced

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to endure a painful start to his life; crying excessively1 arching his back, refusing to feed, and
shaking NAS is a clinical diagnosis, and “a consequence of the abrupt discontinuation of chronic
fetal exposure to substances that were used or abused by the mother during pregnancy.”' Baby
T.Vl.»’.Bv spent his first days in the Neonatal lntensive Care Unit writing in agony as he went through
detoxification According to his grandmother, it is very difficult to soothe him; he has been
evaluated and found to be delayed in all areas of development

3. Baby T.W.B.’s mother began her addiction when doctors at Alton Memoria|
I-Iospital in Alton, Illinois prescribed opiates between the ages of 12 and 15 for a broken ankle and
later for a broken hand. Her addiction to prescription opiates served as a gateway to a heroin
addiction

4, Upon information and beiief, T.W.B,’s mother consumed opioids manufactured
and distributed by all named defendants including:

a, Purdue’s products Oxycontin, Dilaudid, and MS Contin;

.O‘

Cephalon’s products Actiq and Fentora;

c. Janssen’s product Duragesic;

d. Endo’s products Perodan, Percoset, Opana, Opana ER, Oxycodone, Hydrocodone

(Vicodin and Lortab)1 Oxymorphone, and l-Iydromorphone', and
e. Activis’ product Norco and Kadian.
5. Baby T.W.B.’s experience is part of an opioid epidemic sweeping through the

United States, including lllinois, that has caused thousands of infants great suffering and
continuing developmental issues. 'I`his epidemic is the largest health care crisis in U.S. history.

Baby T,W.B. brings this class action to eliminate the hazard to public health and safety caused by

 

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litlp.'/!pedialrics_aappubl ica lions.org/contan/'pediatricsfl 34}2!\:54? . liill.pdf`_

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the opioid epidemic and to abate the nuisance caused by Defendants’ false, negligent and unfair
marketing andfor unlawful diversion of prescription opioidsv Plaintiffs further seek the equitable
relief of medical monitoring to provide this class of infants the monitoring of developmental issues
that will almost inevitably appear as they grow older and equitable relief in the form of funding
for services and treatment

6. The incidence of NAS has been increasing in the United States. The Substance
Abuse Mental Health Services Administration reported that 1.1% of pregnant women abused
opioids (0,9% used opioid pain relievers and 0.2% used heroin) in 201],2

?. ln recent years, there has been a dramatic rise in the proportion of infants who have
been exposed to opioids Opioid use among women who gave birth increased in the United States
from 1.19 to 5.63 per 1,000 hospital births per year between 2000 and 2009. Concurrently the
incidence of neonatal abstinence syndrome (NAS) among newborns during the same period (from
],20 per 1,000 hospital births per year in 2000 to 3.39 per 1,000 hospital births per year in 2009).3

8. ln a study from Florida, the number of newborns who had NAS and were admitted
to the NICU increased by lO-fold from 2005 to 201 l. increases in the incidence ofNAS have been
reported uniformly across community hospitals, teaching hospitals, and children’s hospitals4

9. The incidence ofNAS in newborns born to opioid-dependent women is between 70
and 95 percent. Research suggests that newborns with NAS (most commonly associated ofopioid
misuse during pregnancy) are more likely than all other hospital births to have low birthweight or

respiratory complications Untreated heroin and other opioid misuse during pregnancy is also

 

2 Pral)hal~:ar Kochcrlakota, .#\"eona.'a! /'lbst:`rte)rce Swirfromc', 134(2) l’ediatrics 541 54':'-48 (2014), availabfe at
http:fl'pediatrics.aappublications.orgr‘contcnt!'pcdiatrics)' l 341'2)'c54?.f11l].pdf.

3 Palrick, S. W,, Sehumacher, R_ E., Bcnncyworth, B. D., Krans_. E. E._. McAllislcr, J. M., & Davis, M. M. {2012).
Neonatal abstinencc syndrome and associated health care expenditures United I|linoiss, 2000_2009. .Iotrrnal oftlie
/lmer:`cmr iii'ed."ca!xlssoct'a!ton, 307( 18)__ 1934-1940

4 Prabhakar Kocherlakota, Neonamf .~'Ibsrfuc’ttce .S_'vndr‘ome, 134(2) Pcdialrics 541 54?-48 (20l4), ava.t'la!)!e at
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associated with increased risk of placental abruption, preterm labor, maternal obstetric
complications, and fetal death.5

10. The NAS epidemic and its consequences could have been, and should have been,
prevented by the Defendants who control the U.S. drug distribution industry and the Defendants
who manufacture the prescription opioids. 'l`hese Defendants have profited greatly by allowing
Illinois to become flooded with prescription opioids.

l l. The drug distribution industry is supposed to serve as a "check" in the drug delivery
system, by securing and monitoring opioids at every step of the stream of commerce, protecting
them from theft and misuse, and refusing to fulfill suspicious or unusual orders by downstream
pharmacies, doctors, clinics, or patients Defendants woefully failed in this duty, instead
consciously ignoring known or knowable problems and data in their supply chains.

12. Defendants thus intentionally and negligently created conditions in which vast
amounts of opioids have flowed freely from drug manufacturers to innocent patients who became
addicted, to opioid abusers, and even to illicit drug dealers - with distributors regularly fulfilling
suspicious orders from pharmacies and clinics, who were economically incentivized to ignore "red
flags" at the point of sale and before dispensing the pil|s.

13. Defendants’ wrongful conduct has allowed billions of opioid pills to be diverted
from legitimate channels of distribution into the illicit black market in quantities that have fueled

the opioid epidemic in ll|inois_ This is characterized as "opioid diversion." Acting against their

common law and statutory duties, Defendants have created an environment in which opioid

 

5 Winklbaur, B., Kopf, N._. Ebner_. N., Jnng. E_, Thau. K., & Fischer_. G. (2008). Trcating pregnant women dependent
on opioids is not the same as treating pregnancy and opioid dependencel Addiction_. 103(9), 1429-1440_; see also
American Collegc of Obstetricians and Gyneeologists. (2012; reafli nned in 2014). Opioid ahuse, dependence_. and
addiction in pregnancy (Connnittee Opinion No. 524). Retrieved from http:i'lw\vw,aeeg.org/-nnedia!Cornnutlec-
Opinions)'Coinnu`ltee-on-Health-Carc-l`or-Underserved-Wornenlco$%.pcll`?dnic=l&ts=20150928Tl302076021; see
also Kaltenbach, K., Berghella, V., & Finncgan_. L. (1998). Opioid dependence during pregnaney: Eil"ects and
management Obstetries Gyneeology Clinics of North Arnerica, 25(1)_, 139-151.

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diversion is rampant. As a result, unknowing patients and unauthorized opioid users have ready
access to illicit sources of diverted opioids.

l4. For years, Defendants and their agents have had the ability to substantially reduce
the consequences of opioid diversion, including the dramatic increase in the number of infants
born with NAS. All the Defendants in this action share responsibility for perpetuating the epidemic
and the exponential increase in the number of infants afflicted with NAS.

15. Defendants have foreseeably caused damages to Baby T.W.B. and Class Members
including the costs of neo-natal medical care, additional therapeutic, prescription drug purchases
and other treatments for NAS afflicted newborns, and counseling and rehabilitation services after
birth and into the tinure. Plaintiff Baby T.W.B_ brings this civil action for injunctive relief,
compensatory damages, statutory damages, and any other relief allowed by law against the
Defendant opioid drug distributors, retailers, and manufacturers that, by their actions and
omissions, knowingly or negligently have distributed and dispensed prescription opioid drugs in a
manner that foreseeably injured, and continues to injure, Baby T.W.B. and the Class,

PARTIES
A. Plaintifl`s

16. Baby T.W.B. and Putative Class members are individuals who have suffered
Neonatal Abstinence Syndrome as a result of exposure to opioids in utero. This drug exposure
provides Baby T.W.B. the right to sue, through his next friend, for damages under product liability,
nuisance, negligence and gross negligence

l')", Baby T.W.B. and Putative Class Members directly and foreseeably sustained all
damages alleged herein Categories of past and continuing sustained damages include, inter alia:

(l) costs for providing treatment of infants born with opioid-related medical conditions like NAS;

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(2) equitable relief of medical monitoring, testing and treatment for latent dread diseases associated
with NAS (3) costs for providing ongoing medical monitoring care into a Court administered iimd,
additional therapeutic and prescription drug purchases and other treatments; (4) costs for
providing treatment, counseling and rehabilitation services; and (5) costs associated with providing
care for children whose parents suffer from opioid-related disability or incapacitation, including
foster care services

18. Baby T,W,B and the Putative Class Members have suffered and continue to suffer
these damages directly. Plaintiffs and Putative Class Representatives also seek the means to abate
the epidemic Defendants’ wrongful andr'or unlawful conduct has created.

B. Defendants

19. McKesson Corporation ("McKesson") has its principal place of business in San
Francisco, Ca|ifornia and is incorporated under the laws of Delaware. During all relevant times,
McKesson has distributed substantial amounts of prescription opioids to providers and retailers in
the State oflllinois.

20. Cardinal Health, Inc. ("Cardinal”) has its principal place of business in Ohio and is
incorporated under the laws of Ohio. During all relevant times, Cardinal has distributed substantial
amounts of prescription opioids to providers and retailers in the State oflllinois.

21. AmerisourceBergen Corporation has its principal place of business in Pennsylvania
and is incorporated under the laws of Delaware, During all relevant times, AmerisourceBergen has
distributed substantial amounts of prescription opioids to providers and retailers in the State of
Illinois.

22. McKesson, Cardinal, and AmerisourceBergen are collectively referred to

hereinafter as “Distributor Defendants."

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23, Purdue Pharma L.P. is a limited partnership organized under the laws ofDelaware.
Purdue Pliarma, lnc. is a New York corporation with its principal place of business in Stamford,
Connecticut, and The Purdue Frederick Company is a Delaware corporation with its principal place
of business in Stamford, Connecticut (collectively, “Purdue”), Purdue manufactures promotes
sells and distributes opioids such as OxyContin, MS Contin, Dilaudideilaudid HP, Butrans,
Hysingla ER, and Targiniq ER in the U.S. and Illinois OXyContin is Purdue’s best-selling opioid.
Since 2009, Purdue’s annual sales of OxyContin have fluctuated between $2.4? billion and $2.99
billion, up four-fold from its 2006 sales of $800 million OxyContin constitutes roughly 30% of
the entire market for analgesic drugs (painkillers).

24. Cephalon, Inc. (“Cephalon”) is a Delaware corporation with its principal place of
business in Frazer, Pennsylvania, Cephalon manufactures promotes, sells, and distributes opioids
such as Actiq and Fentora in the U.S. and Illinois Actiq and Fentora have been approved by the
FDA only for the “management of breakthrough cancer pain in patients 16 years of age and older
who are already receiving and who are tolerant to opioid therapy for their underlying persistent
cancer pain.” ln 2008, Cephalon pled guilty to a criminal violation ofthe Federal Food, Drug and
Cosmetic Act for its misleading promotion of Actiq and two other drugs and agreed to pay $425
million.

25. Teva Pharmaceutical Industries, Ltd, (“Teva Ltd.”) is an Israeli corporation with its
principal place of business in Petah Tikva, lsrael. Teva Pharmaceuticals USA, Inc. (“Teva USA”)
is a wholly- owned subsidiary of Teva Ltd. and is a Delaware corporation with its principal place
ofbusiness in Pennsylvania. Teva USA acquired Cephalon in October 201 l.

26. Teva Ltd.1 Teva USA, and Cephalon collaborate to market and sell Cephalon

products in the U.S. Teva Ltd. conducts all sales and marketing activities for Cephalon in the U.S.

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through Teva USA. Teva Ltd. and Teva USA publicize Actiq and Fentora as Teva products Teva
USA sells all former Cephalon branded products through its “specialty medicines” division The
FDA-approved prescribing information and medication guide, which is distributed with Cephalon
opioids marketed and sold in Illinois, discloses that the guide was submitted by Teva USA, and
directs physicians to contact Teva USA to report adverse events Teva Ltd‘ has directed Cephalon
to disclose that it is a wholly-owned subsidiary of Teva Ltd, on prescription savings cards
distributed in lLLINOIS, indicating Teva Ltd. would be responsible for covering certain co-pay
costs All ofCephalon’s promotional websites, including those for Actiq and Fentora, prominently
display Teva Ltd.’s logo. Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as its
ownv Through interrelated operations like these, Teva Ltd. operates in Illinois and the rest of the
U‘S. through its subsidiaries Cephalon and Teva USA, The U.S. is the largest ofTeva Ltd. ’s global
markets representing 53% of` its global revenue in 2015, and, were it not for the existence of Teva
USA and Cephalon, lnc., Teva Ltd. would conduct those companies’ business in the United Illinois
itself. Upon information and belief, Teva Ltd. directs the business practices of Cephalon and Teva
USA, and their profits inure to the benefit of Teva Ltd. as controlling shareholder. (Teva Ltd.,
Teva USA, and Cephalon, Inc. are hereinafter collectively referred to as “Cephalon.”)

2?. Janssen Pharmaceuticals, Inc. is a Pennsylvania corporation with its principal place
of business in Titusville, New Jersey, and is a wholly owned subsidiary of Johnson & Johnson
(J&J), a New Jersey corporation with its principal place of business in New Brunswick, New
Jersey. Ortho-McNeil-Janssen Pharmaceuticals, lnc., now known as Janssen Pharmaceuticals,
lnc., is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey.
Janssen Pharmaceuticals lnc,, now known as Janssen Pharmaceuticals, Inc., is a Pennsylvania

corporation with its principal place of business in Titusville, New Jersey. J&J is the only company

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that owns more than 10% of Janssen Pharmaceuticals’ stock, and corresponds with the FDA
regarding Janssen’s products Upon information and belief, J&J controls the sale and development
of Janssen Pharmaceuticals’ drugs and Janssen’s profits inure to J&J’s benefit (Janssen
Pharmaceuticals, Inc,, Ortho-McNeil-Janssen Pharmaceuticals, lnc., Janssen Pharmaceutica, lnc.,
and J&J hereinafter are collectively referred to as “Janssen.”). Janssen manufactures promotes
sells, and distributes drugs in the U.S. and Illinois including the opioid Duragesic. Before 2009,
Duragesic accounted for at least $1 billion in annual sales Until January 2015, Janssen developed,
marketed, and sold the opioids Nucynta and Nucynta ER. Together, Nucynta and Nucynta ER
accounted for $1?2 million in sales in 2014.

28. Endo Health Solutions lnc. is a Delaware corporation with its principal place of
business in Malvern, Pennsylvania Endo Pharmaceuticals lnc. is a wholly- owned subsidiary of
Endo Health Solutions lnc. and is a Delaware corporation with its principal place of business in
Malvern, Pennsylvania (Endo Health Solutions Inc. and Endo Pharmaceuticals lnc. hereinafter
are collectively referred to as “E,ndo.”) Endo develops, markets and sells prescription drugs
including the opioids OpanafOpana ER, Percodan, Percocet, and Zydone1 in the U.S. and Illinois
Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in 2012_ Opana
ER yielded $1.15 billion in revenue from 2010 and 2013, and it accounted for 10% ofEndo’s total
revenue in 2012, Endo also manufactures and sells generic opioids such as oxycodone,
oxymorphone, hydromorphone, and hydrocodone products in the U.S. and ILLINOIS, by itself
and through its subsidiary, Qualitest Pharmaceuticals lnc.

29. Allergan PLC is a public limited company incorporated in Ireland with its principal
place of business in Dublin, Ireland. Actavis PLC acquired Allergan PLC in March 2015, and the

combined company changed its name to Allergan PLC in January 2013. Before that, Watson

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Pharmaceuticals lnc. acquired Actavis lnc. in October 2012, and the combined company changed
its name to Actavis, lnc. as of January 20131 later to Actavis PLC in October 2013. Watson
Laboratories, lnc. is a Nevada corporation with its principal place of business in Corona,
California, and is a wholly-owned subsidiary of Allergan PLC (flkl'a Actavis lnc. fifkfa Watson
Pharmaceuticals, Inc.), Actavis Pharma, lnc. (ffkfa Actavis, lnc.) is a Delaware corporation with
its principal place of business in New Jersey and was formerly known as Watson Pharma, lnc,
Actavis LLC is a Delaware limited liability company with its principal place of business in
Parsippany, New Jersey. Each of these defendants is owned by Al[ergan PLC, which uses them to
market and sell its drugs in the Illinois Upon information and belief, A||ergan PLC exercises
control over and derives financial benefit from the marketing, sales and profits of
Allergaanctavis products (Allergan PLC, Actavis PLC, Actavis lnc., Actavis LLC, Actavis
Pharma, lnc,, Watson Pharmaceuticals, lnc., Watson Pharma, lnc., and Watson Laboratories, lnc.
hereinafter are referred to collectively as “Actavis.") Actavis manufactures promotes sells and
distributes opioids, including the branded drugs Kadian and Norco, a generic version of Kadian,
and generic versions of Duragesic and Opana, in lllinois. Actavis acquired the rights to Kadian
from King Pharmaceuticals Inc. on Deoember 30, 2008, and began marketing Kadian in 2009.

30. Purdue, Cephalon, Janssen, Endo, and Actavis are collectively referred to
hereinafter as the “Pharmaceutical Defendants,”

JURISDICTION AND VENUE

31. Jurisdiction of this Court arises under the laws of the United Illinois 28 U.S.C. §
1332(a) as the parties are citizens of different Illinois and the amount in controversy exceeds
$?5,000.00, exclusive of attorney’s fees and costs

32_ This Court is also vested with jurisdiction by virtue ofthe Class Action Fairness

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Act, 28 U.S.C. §1332(d). Minimal diversity exists between named Plaintiff of this putative class
action, a citizen of the State of Illinois and Defendants The proposed class exceeds 100 persons
Further, the amount in controversy exceeds $5,000,000,00v

33. Defendants have engaged in conduct and activities over a long time, systematically,
individually, jointly, and severally, in Illinois that have caused all of the Plaintiff’s damages and
all of which form the bases of the causes of action in this Complaint as against Defendants
Defendants have committed multiple torts and breaches within the State of Illinois repeatedly and
systematically

34. Defendants for a long time, repeatedly and systematically, have substantial
contacts and business relationships within Illinois and its patients and citizens including
consensual relationships and contracts performed within Illinois some or all of which form the
basis of the causes of action in this Complaint as against Defendants

35. This Court has personal jurisdiction over Defendants each of which has committed
torts in part or in whole, within the State of Illinois as alleged herein. Moreover, Defendants have
substantial contacts and business dealings directly within illinois by virtue of their distribution,
dispensing, and sales of prescription opioids. All causes of action herein relate to Defendants’
wrongliil actions conduct, and omissions committed against Plaintiff and the Class and the
consequences and damages related to said wrongful actions eonduct, and omissions

36_ Venue is proper in this Court pursuant to 28 U.S.C. §1391(1))(2) in that a substantial
part of the events giving rise to the claims occurred in the Southern District of Illinois

BACKGROUND FACTS
37. Opioid means "opium - like" and the term includes all drugs derived in whole or in

part from the opium poppy.

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38, The United States Food and Drug Administration’s website describes this class of
drugs as follows: “Prescription opioids are powerful pain~reducing medications that include
prescription oxycodone, hydrocodone, and morphine, among others and have both benefits as well
as potentially serious risks These medications can help manage pain when prescribed forthe right
condition and when used properly. But when misused or abused, they can cause serious harm,
including addiction, overdose, and death."

39_ Prescription opioids with the highest potential for addiction are categorized under
Schedule II of the Controlled Substances Act. They include non-synthetic derivatives of the opium
poppy (such as codeine and morphine, which are also called "opiates”), partially synthetic
derivatives (such as hydrocodone and oxycodone), or fully synthetic derivatives (such as fentanyl
and methadone).

40. Before the epidemic of Defendants’ prescription opioids the generally accepted
standard of medical practice was that opioids should only be used short-term for acute pain, pain
relating to recovery from surgery, or for cancer or palliative (end-of-life) care. Due to the lack of
evidence that opioids improved patients’ ability to overcome pain and limetion, coupled with
evidence of greater pain complaints as patients developed tolerance to opioids over time and the
serious risk of addiction and other side effects the use of opioids for chronic pain was discouraged
or prohibited As a result, doctors generally did not prescribe opioids for chronic pain.

PHARMACEUTICAL DEFENDANTS’ WRONGFUL CONDUCT

41. To establish and exploit the lucrative market of chronic pain patients each
Pharmaceutical Defendant developed a well-funded, sophisticated, and negligent marketing and/or
distribution scheme targeted at consumers and physicians These Defendants used direct

marketing, as well as veiled advertising by seemingly independent third parties to spread

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mispresentations about the risks and benefits oflong-term opioid use - statements that created the
“new” market for prescription opioids upended the standard medical practice, and benefited other
Defendants and opioid manufacturers These statements were unsupported by and contrary to the
scientific evidence These statements were also contrary to pronouncements by and guidance from
the FDA and CDC based on that evidence They also targeted susceptible prescribers and
vulnerable patient populations including those in Illinois

42. The Pharmaceutical Defendants spread their false and negligent statements by
marketing their branded opioids directly to doctors and patients in lllinois. Defendants also
deployed seemingly unbiased and independent third parties that they controlled to spread their
false and negligent statements about the risks and benefits of opioids for the treatment of chronic
pain throughout geographic areas and patient demographics of lllinois.

43. The Pharmaceutical Defendants’ direct and branded ads negligently portrayed the
benefits of opioids for chronic pain. For example, Endo distributed and made available on its
website www.opana.com, a pamphlet promoting Opana ER with photographs depicting patients
with physically demanding jobs misleadingly implying that the drug would provide long-term
pain-relief and functional improvement Purdue ran a series of ads called “Pain Vignettes,” for
OxyContin that featured chronic pain patients and recommended OxyContin for each. One ad
described a “54-year-old writer with osteoarthritis of the hands" and implied that OxyContin would
help the writer work more effectively While Endo and Purdue agreed in 2015-16 to stop these
particularly misleading representations in New York, they continued to disseminate them in
Illinois

44. The Pharmaceutical Defendants also promoted the use of opioids for chronic pain

through “detailers” - sophisticated and specially trained sales representatives who visited

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individual doctors and medical staff, and fomented small-group speaker programs in 2014, for
instance these Defendants spent almost 3200 million on detailing branded opioids to doctors

45. The FDA has cited at least one ofthese Defendants for negligent promotions by its
detailers and direct-to-physician marketing ln 2010 an FDA-mandated “Dear Doctor” letter
required Actavis to inform doctors that “Actavis sales representatives distributed . . . promotional
materials that . t . omitted and minimized serious risks associated with [Kadian],” including the
risk of“[m]isuse, [a]buse, and [d]iversion of [o]pioids” and, specifically, the risk that “[o]pioid[s]
have the potential for being abused and are sought by drug abusers and people with addiction
disorders and are subject to criminal diversion.”

46. The Pharmaceutical Defendants invited doctors to participate, for payment and
other remuneration, on and in speakers’ bureaus and programs paid for by these Defendants These
speaker programs were designed to provide incentives for doctors to prescribe opioids including
recognition and compensation for being selected as speakers These speakers give the false
impression that they are providing unbiased and medically accurate presentations when they are,
in fact, presenting a script prepared by these Defendants On information and belief, these
presentations conveyed misleading information, omitted material information, and failed to correct
Defendants’ prior misrepresentations about the risks and benefits of opioids.

4?. The Pharmaceutical Defendants’ detailing to doctors was highly effective in the
national proliferation of prescription opioids Defendants used sophisticated data mining and
intelligence to track and understand the rates of initial prescribing and renewal by individual
doctors allowing specific and individual targeting, customizing, and monitoring of their
marketing

48_ The Pharmaceutical Defendants have had unified marketing plans and strategies

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from state to state, including Illinois This unified approach ensures that Defendants’ messages
were and are consistent and effective across all their marketing efforts

49. The Pharmaceutical Defendants negligently marketed opioids in Illinois through
unbranded advertising that promoted opioid use generally, yet silent as to a specific opioid. This
advertising was ostensibly created and disseminated by independent third parties but handed1
directed, coordinated, edited1 and distributed, in part or whole, by these Defendants and their public
relations firms and agents

50. The Pharmaceutical Defendants used putative third-party, unbranded advertising to
avoid regulatory scrutiny as such advertising is not submitted to or reviewed by the FDA. These
Defendants used third-party, unbranded advertising to create the false appearance that the
negligent messages came from an independent and objective source

51. The Pharmaceutical Defendants’ negligent unbranded marketing also contradicted
their branded materials reviewed by the FDA.

52. The Pharmaceutical Defendants marketed opioids through a small circle of doctors
who were vetted, selected, li,lnded, and promoted by these Defendants because their public
positions supported the use of prescription opioids to treat chronic pain, These doctors became
known as “key opinion leaders” or “KOLs.” These Defendants paid KOLS to serve in a number of
doctor-facing and public-facing capacities all designed to promote a pro-opioid message and to
promote the opioid industry pipeline from manufacture to distribution to retail.

53. These Defendants entered into and/for benefitted from arrangements with seemingly
unbiased and independent organizations or groups that generated treatment guidelines unbranded
materials and programs promoting chronic opioid therapy, including the American Pain Society

(“APS”), American Geriatrics Society (“AGS”), the Federation of Illinois Medical Boards

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(“FSMB”), American Chronic Pain Association (“ACPA"), American Society of Pain Education
(“ASPE”), National Pain Foundation (“NPF”), and Pain & Policy Studies Group (“PPSG”).

54. The Pharmaceutical Defendants collaborated, through the aforementioned
organizations and groups to spread negligent messages about the risks and benefits of long-term
opioid therapy

55. To convince doctors and patients in Illinois that opioids can and should be used to
treat chronic pain, these Defendants had to persuade them that long-term opioid use is both safe
and helpliil. Knowing that they could do so only by conveying negligent misrepresentations to
those doctors and patients about the risks and benefits of long-term opioid use, these Defendants
made claims that were not supported by or were contrary to the scientific evidence and which were
contradicted by data.

56. To convince doctors and patients that opioids are safe, the Pharmaceutical
Defendants negligently trivialized and failed to disclose the risks of long-term opioid use,
particularly the risk of addiction, through a series of misrepresentations that have been
conclusively debunked by the FDA and CDC. These misrepresentations - which are described
below - reinforced each other and created the dangerously misleading impression that: (a) starting
patients on opioids was low- risk because most patients would not become addicted, and because
those who were at greatest risk of addiction could be readily identified and managed; (b) patients
who displayed signs of addiction probably were not addicted and, in any event, could easily be
weaned from the drugs; (c) the use of higher opioid doses which many patients need to sustain
pain relief as they develop tolerance to the drugs do not pose special risks and (d) abuse-deterrent
opioids both prevent abuse and overdose and are inherently less addictive. Defendants have not

only failed to correct these misrepresentations they continue to make them today.

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5?`. The Pharmaceutical Defendants negligently claimed that the risk of opioid
addiction is low and that addiction is unlikely to develop when opioids are prescribed, as opposed
to obtained illicitly; and failed to disclose the greater risk of addiction with prolonged use of
opioids Some examples of these negligent mispresentations by opioid manufacturers are: (a)
Actavis employed a patient education brochure that negligently claimed opioid addiction is “less
likely if you have never had an addiction problem"; (b) Cephalon and Purdue sponsored APF’s
Treatment Options: A Guide for People Living with Pain, negligently claiming that addiction is
rare and limited to extreme cases of unauthorized doses; (c) Endo sponsored a website,
Painknowledge.com, which negligently claimed that “[p]eople who take opioids as prescribed
usually do not become addicted”; (d) Endo distributed a pamphlet with the Endo logo entitled
Living with Someone with Chronic Pain, which Stated that: “most people do not develop an
addiction problem”; (e) Janssen distributed a patient education guide entitled Finding Relief: Pain
Management for Older Adults which described as “myth” the claim that opioids are addictive; (f)
a Janssen website negligently claimed that concerns about opioid addiction are “overestimated”;
(g) Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & lts Management -
that negligently claims that pain is undertreated due to “misconceptions about opioid addiction.”

58. These claims are contrary to longstanding scientific evidence as the FDA and CDC
have conclusively declared As noted in the 2016 CDC Guideline endorsed by the FDA, there is
“extensive evidence” of the “possible harms of opioids (including opioid use disorder [an
alternative term for opioid addiction]).” The Guideline points out that “[0]pioid pain medication
use presents serious risks including . . . opioid use disorder” and that “continuing opioid therapy
for three (3) months substantially increases risk f`or opioid use disorder,"

59_ The FDA further exposed the falsity of the Pharmaceutical Defendants’ claims

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about the low risk of addiction when it announced changes to the labels for certain opioids in 2013
and for other opioids in 2016v ln its announcements the FDA found that “most opioid drugs have
‘high potential for abuse”’ and that opioids “are associated with a substantial risk of misuse, abuse,
NOWS [neonatal opioid withdrawal syndrome], addiction, overdose, and death.” According to the
FDA, because of the “known serious risks” associated with long-term opioid use, including “risks
of addiction, abuse, and rnisuse, even at recommended doses and because of the greater risks of
overdose and death,” opioids should be used only “in patients for whom alternative treatment
options” like non-opioid drugs have failed. The FDA tiirther acknowledged that the risk is not
limited to patients who seek drugs illicitly; addiction “can occur in patients appropriately
prescribed [opioids].”

60_ The State of New York, in a 2016 settlement agreement with Endo, found that
opioid “use disorders appear to be highly prevalent in chronic pain patients treated with opioids
with up to 40% of chronic pain patients treated in specialty and primary care outpatient centers
meeting the clinical criteria for an opioid use disorder.” Endo had claimed on its www.opana.com
website that “[m]ost healthcare providers who treat patients with pain agree that patients treated
with prolonged opioid medicines usually do not become addicted,” but the State of New York
found no evidence for that statement. Consistent with this Endo agreed not to “make Statements
that . . . opioids generally are non-addictive” or “that most patients who take opioids do not become
addicted” in New York. This agreement, however, did not extend to lllinois.

61v The Pharmaceutical Defendants negligently instructed doctors and patients that the
signs of addiction are actually signs of undertreated pain and should be treated by prescribing more
opioids Defendants called this phenomenon “pseudo-addiction” - a term used by Dr. David

Haddox, who went to work for Purdue, and Dr. Russell Portenoy, a KOL for Cephalon, Endo,

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Janssen, and Purdue Defendants negligently claimed that pseudo-addiction was substantiated by
scientific evidence Some examples of these negligent claims are: (a) Cephalon and Purdue
sponsored Responsible Opioid Prescribing, which taught that behaviors such as “requesting drugs
by name,” “demanding or manipulative behavior,” seeing more than one doctor to obtain opioids
and hoarding, are all signs of pseudo-addiction, rather than true addiction; (b) Janssen sponsored,
funded, and edited the Let’s Talk Pain website, which in 2009 Stated: “pseudo-addiction . . , refers
to patient behaviors that may occur when pain is under-treated”; (c) Endo sponsored a National
Initiative on Pain Control (NIPC) CME program titled Chronic Opioid Therapy: Understanding
Risk While Maximizing Analgesia, which promoted pseudo-addiction by teaching that a patient’s
aberrant behavior was the result of untreated pain; (d) Purdue sponsored a negligent CME program
entitled Path of the Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse in which
a narrator notes that because of pseudo-addiction, a doctor should not assume the patient is
addicted.

62v The 2016 CDC Guideline rejects the concept of pseudo-addiction1 explaining that
“[p]atients who do not experience clinically meaningful pain relief early in treatment . . . are
unlikely to experience pain relief with longer- term use,” and that physicians should “reassess[]
pain and limction within 1 month” in order to decide whether to “minimize risks of long-term
opioid use by discontinuing opioids” because the patient is “not receiving a clear benefit.”

63. The Pharmaceutical Defendants negligently instructed doctors and patients that
addiction risk screening tools patient agreements urine drug screens and similar strategies were
very effective to identify and safely prescribe opioids to even those patients predisposed to
addiction These misrepresentations were reckless because Pharmaceutical Defendants directed

them to general practitioners and family doctors who lack the time and expertise to closely manage

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higher-risk patients on opioids Pharmaceutical Defendants’ misrepresentations were intended to
make doctors more comfortable in prescribing opioids Some examples ofthese negligent claims
are: (a) an Endo supplement in the Journal of Family Practice emphasized the effectiveness of
screening tools to avoid addictions; (b) Purdue’s webinar, Managing Patient’s Opioid Use:
Balancing the Need and Risk, claimed that screening tools urine tests and patient agreements
prevent “overuse of prescriptions” and “overdose deaths”; (c) Purdue represented in scientific
conferences that “bad apple” patients - and not opioids - were the source of the addiction crisis
when in fact the “bad apples” were the Defendants

64. The 2016 CDC Guideline exposes the falsity of these misrepresentations noting
that there are no studies assessing the effectiveness of risk mitigation strategies - such as screening
tools patient contracts urine drug testing1 or pill counts widely believed by doctors to detect and
deter abuse - “for improving outcomes related to overdose, addiction, abuse, or misuse,” The
Guideline emphasizes that available risk screening tools “show insufficient accuracy for
classification of patients as at low or high risk for [opioid] abuse or misuse” and counsels that
doctors “should not overestimate the ability of these tools to rule out risks from long-term opioid
therapy.”

65. To underplay the risk and impact of addiction and make doctors feel more
comfortable starting patients on opioids Pharmaceutical Defendants negligently claimed that
opioid dependence can easily be solved by tapering, that opioid withdrawal was not difficult, and
that there were no problems in stopping opioids after long-term use.

66 A CME sponsored by Endo, entitled Persistent Pain in the Older Adult, claimed
that withdrawal symptoms could be avoided by tapering a patient’s opioid dose by up to 20% for

a few days Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & its

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Management, that claimed “[s]ymptoms of physical dependence can often be ameliorated by

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gradually decreasing the dose of medication during discontinuation,’ without mentioning any
known or foreseeable issues
6?'. Pharmaceutical Defendants negligently minimized the significant symptoms of
opioid withdrawal - which, as explained in the 2016 CDC Guideline include drug cravings,
anxiety, insomnia, abdominal pain, vomiting, diarrhea, sweating, tremor, tachycardia (rapid
heartbeat), spontaneous abortion and premature labor in pregnant women, and the unmasking of
anxiety, depression, and addiction - and grossly understated the difficulty oftapering, particularly
after long-term opioid use The 2016 CDC Guideline recognizes that the duration of opioid use
and the dosage of opioids prescribed should be “limit[ed]” to “minimize the need to taper opioids
to prevent distressing or unpleasant withdrawal symptoms” because “physical dependence on
opioids is an expected physiologic response in patients exposed to opioids for more than a few
- days” The Guideline filrther Illinois that “tapering opioids can be especially challenging after
years on high dosages because of physical and psychological dependence” and highlights the
difficulties including the need to carefully identify “a taper slow enough to minimize symptoms
and signs of opioid withdrawal” and to “pause[] and restart[]” tapers depending on the patient’s
response The CDC also acknowledges the lack of any “high-quality studies comparing the
effectiveness of different tapering protocols for use when opioid dosage is reduced or opioids are
discontinued.”
63, The Pharmaceutical Defendants negligently claimed that doctors and patients could
increase opioid dosages indefinitely without added risk of addiction and other health
consequences and failed to disclose the greater risks to patients at higher dosages The ability to

escalate dosages was critical to Defendants’ efforts to market opioids for long-term use to treat

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chronic pain because, absent this misrepresentation, doctors would have abandoned treatment
when patients built up tolerance and lower dosages did not provide pain relief. For example: (a)
an Actavis patient brochure stated - “Over time, your body may become tolerant of your current
dose. You may require a dose adjustment to get the right amount of pain relief`. This is not
addiction”; (b) Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
Living with Pain, claiming that some patients need larger doses of opioids, with “no ceiling dose”
for appropriate treatment of severe, chronic pain; (c) an Endo website, painknowledge.com,
claimed that opioid dosages may be increased until “you are on the right dose of` medication for
your pain”; (d) an Endo pamphlet Understanding Your Pain: Taking Oral Opioid Analgesics,
Stated “The close can be increased . , . You won’t ‘run out’ of` pain reiief"; (e) a Janssen patient
education guide Finding Re[ief: Pain Management for Older Adults listed dosage limitations as
“disadvantages” of other pain medicines yet omitted any discussion of risks of increased opioid
dosages; (f) Purdue’s In the Face of` Pain website promotes the notion that if` a patient’s doctor
does not prescribe what, in the patient’s View, is a sufficient dosage of opioids1 he or she should
find another doctor who will; (g) Purdue’s A Policymaker’s Guide to Understanding Pain & Its
Management Stated that dosage escalations arc “sometimes necessary,” even unlimited ones, but
did not disclose the risks from high opioid dosages; (h) a Purdue CME`, entitled Overview of
Management Options taught that NSAIDs and other drugs, but not opioids, were unsafe at high
dosages; (i) Purdue presented a 2015 paper at the College on the Problems of Drug Dependence
challenging the correlation between opioid dosage and overdose.

69 These and other representations conflict with the scientific evidence, as confirmed
by the FDA and CDC. As the CDC explains in its 2016 Guideline, the “[b]enefits of high-dose

opioids for chronic pain are not established” while the “risks for serious harms related to opioid

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therapy increase at higher opioid dosage.” More specifically, the CDC explains that “there is now
an established body of scientific evidence showing that overdose risk is increased at higher opioid
dosages." The CDC Illinois that “there is an increased risk for opioid use disorder, respiratory
depression, and death at higher dosages,” That is why the CDC advises doctors to “avoid
increasing dosages” above 90 morphine milligram equivalents per day.

?`0. The 2016 CDC Guideline reinforces earlier findings announced by the FDA. ln
2013, the FDA acknowledged “that the available data do suggest a relationship between increasing
opioid dose and risk of certain adverse events.” For example, the FDA noted that studies “appear
to credibly suggest a positive association between high-dose opioid use and the risk of overdose
andfor overdose mortality.”

?l. Pharmaceutical Defendants’ marketing of the so-called abuse-deterrent properties
of some of their opioids created false impressions that these opioids can curb addiction and abuse
Indeed, in a 2014 survey of 1,000 primary care physicians, nearly half reported that they believed
abuse-deterrent formulations are inherently less addictive.

?2. Pharmaceutical Defendants have made misleading claims about the ability of their
so-called abuse-deterrent opioid formulations to deter abuse. For example, Endo’s advertisements
for the 2012 reformulation of Opana ER negligently claimed that it was designed to be crush
resistant, in a way that suggested it was more difficult to abuse. The FDA warned in a 2013 letter
that there was no evidence Endo’s design “would provide a reduction in oral, intranasal or
intravenous abuse.” Moreover, Endo’s own studies, which it failed to disclose, showed that Opana
ER could still be ground and chewed.

?3, ln a 2016 settlement with the State of New York, Endo agreed not to make

statements in New York that Opana ER was “designed to be, or is crush resistant.” The Illinois

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found those Statements false and negligent because there was no difference in the ability to extract
the narcotic from Opana ER. Similarly, the 2016 CDC Guideline Illinois that “[n]o studies" support
the notion that “abuse-deterrent technologies [are] a risk mitigation strategy for deterring or
preventing abuse,” noting that the technologies - even when they work - "do not prevent opioid
abuse through oral intake, the most common route of opioid abuse, and can still be abused by non-
oral routes.”

74. These numerous, longstanding misrepresentations minimizing the risks of long-
term opioid use persuaded doctors and patients to discount or ignore the true risks. Pharmaceutical
Defendants also had to persuade them that there was a significant upside to long-term opioid use.
But as the 2016 CDC Guideline makes clear, there is “insufficient evidence to determine the long-
term benefits of opioid therapy for chronic pain,” ln fact, the CDC found that “[n]o evidence
shows a long-term benefit of opioids in pain and function versus no opioids for chronic pain with
outcomes examined at least l year later (with most placebo-controlled randomized trials 5 6 weeks
in duration)” and that other treatments were more or equally beneficial and less harmful than long-
term opioid use. The FDA, too, has recognized the lack of evidence to support long-term opioid
use. ln 2013, the FDA Stated that it was “not aware of adequate and well-controlled studies of
opioids use longer than 12 weeks,” Despite this, Defendants negligently and misleadingly touted
the benefits oflong-term opioid use and negligently and misleadingly suggested that these benefits
were supported by scientific evidence Not only have Defendants failed to correct these false and
negligent claims, they continue to make them today.

?5. For example, the Pharmaceutical Defendants negligently claimed that long-term
opioid use improved patients’ function and quality of life, including the following

misrepresentations (a) an Actavis advertisement claimed that the use of Kadian to treat chronic

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pain would allow patients to return to work, relieve “stress on your body and your mental health,”
and help patients enjoy their lives; (b) an Endo advertisement that claimed that the use of Opana
ER for chronic pain would allow patients to perform demanding tasks, portraying seemingly
healthy, unimpaired persons', (c) a Janssen patient education guide Finding Relief: Pain
Management for Older Adults Stated as “a fact” that “opioids may make it easier for people to live
normally” such as sleeping peacefi.\lly, working, recreation, sex, walking, and climbing stairs; (d)
Purdue advertisements of OxyContin entitled “Pain vignettes” implied that OxyContin improves
patients’ function; (e) Responsible Opioid Prescribing, by Cephalon, Endo and Purdue, taught that
reliefofpain by opioids, by itself, improved patients’ function; (f) Cephalon and Purdue sponsored
APF’s Treatment Options: A Guide for People Living with Pain counseling patients that opioids
“give [pain patients] a quality of life we deserve”; (g) Endo’s NIPC website painknowledge.com
claimed that with opioids, “your level of function should improve; you may find you are now
able to participate in activities Of daily living, such as work and hobbies, that you were not able to
enjoy when your pain was worse”; (h) Endo CME,s titled Persistent Pain in the Older Patient
claimed that chronic opioid therapy had been “shown to reduce pain and improve depressive
symptoms and cognitive functioning”; (i) Janssen sponsored, finided, and edited a website, Let’s
Talk Pain, in 2009, which featured an interview edited by Janssen claiming that opioids allowed a
patient to “continue to liinction”; (j) Purdue’s A Policymaker’s Guide to Understanding Pain & Its
Management claimed that “multiple clinical studies” had shown opioids as effective in improving
daily function, psychological health, and health-related quality of life for chronic pain patients; (k)
Purdue’s, Cephalon’s, Endo’s, and Janssen’s sales representatives have conveyed and continue to
convey the message that opioids will improve patient function.

?6. These claims find no support in the scientific literature The 2016 CDC Guideline

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concluded that “there is no good evidence that opioids improve pain or function with long-term
use, and . . _ complete relief of pain is unlikely,” (Emphasis added.) The CDC reinforced this
conclusion throughout its 2016 Guideline:

v “No evidence shows a long-term benefit of opioids in pain and lunction versus no
opioids for chronic pain with outcomes examined at least 1 year later . . .”

0 “Although opioids Can reduce pain during short-term use, the clinical evidence review
found insufficient evidence to determine whether pain relief is sustained and whether
function or quality of life improves with long-term opioid therapy.”

0 “[E]vidence is limited or insufficient for improved pain or function with long-term use

of opioids for several chronic pain conditions for which opioids are commonly
prescribed, such as low back pain, headache, and fibromyalgia."

77, The CDC also noted that the risks of addiction and death “can cause distress and
inability to fulfill major role obligations,” As a matter of common sense (and medical evidence),
drugs that can kill patients or commit them to a life of addiction or recovery do not improve their
function and quality of life.

?8. The 2016 CDC Guideline was not the first time a federal agency repudiated the
Pharmaceutical Defendants’ claim that opioids improved function and quality of life. In 2010, the
FDA warned Actavis that “[w]e are not aware of substantial evidence or substantial clinical
experience demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating
pain, taken together with any drug-related side effects patients may experience , . . results in any
overall positive impact on a patient’s work, physical and mental functioning, daily activities or
enjoyment of life.” In 2008, the FDA sent a warning letter to an opioid manufacturer, making it
clear “that [the claim that] patients who are treated with the drug experience an improvement in
their overall function, social function, and ability to perform daily activities _ . . has not been
demonstrated by substantial evidence or substantial clinical experience.”

?9. The Pharmaceutical Defendants also negligently and misleadingly emphasized or

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exaggerated the risks of competing products like NSAle, so that doctors and patients would look
to opioids first for the treatment of chronic pain. Once again, these misrepresentations by
Defendants contravene pronouncements by and guidance from the FDA and CDC based on the
scientific evidence lndeed, the FDA changed the labels for ER.FLA opioids in 2013 and IR opioids
in 2016 to Illinois that opioids should only be used as a last resort “in patients for which alternative
treatment options” like non-opioid drugs “are inadequate.” The 2016 CDC Guideline states that
NSAIDs, not opioids, should be the first-line treatment for chronic pain, particularly arthritis and
lower back pain.

80. ln addition, Purdue misleadingly promoted OxyContin as being unique among
opioids in providing 12 continuous hours of pain relief with one dose ln fact, OxyContin does
not last for 12 hours - a fact that Purdue has known at all relevant times According to Purdue’s
own research, OxyContin wears off in under six hours in one quarter of patients and in under 10
hours in more than half`. This is because OxyContin tablets release approximately 40% of their
active medicine immediately, after which release tapers. This triggers a powerful initial response
but provides little or no pain relief at the end of the closing period, when less medicine is released
This phenomenon is known as “end of dose” failure, and the FDA found in 2008 that a “substantial
number” of chronic pain patients taking OxyContin experience it. This not only renders Purdue’s
promise of 12 hours of relief false and negligent, it also makes OxyContin lnore dangerous because
the declining pain relief patients experience toward the end of each closing period drives them to
take more OxyContin before the next dosing period begins, quickly increasing the amount of drug
they are taking and spurring growing dependence

81. Purdue’s competitors were aware of this problem For example, Endo ran

advertisements for Opana ER referring to “real” 12-hour dosing, Nevertheless, Purdue negligently

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promoted OxyContin as if it were effective for a full 12 hours. lndeed, Purdue’s sales
representatives continue to tell doctors that OxyContin lasts a full 12 hours

82, Cephalon negligently marketed its opioids Actiq and Fentora for chronic pain even
though the FDA has expressly limited their use to the treatment of cancer pain in opioid- tolerant
individuals Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither is
approved for or has been shown to be safe or effective for chronic pain. lndeed, the FDA expressly
prohibited Cephalon from marketing Actiq for anything but cancer pain, and refused to approve
Fentora for the treatment of chronic pain because ofthe potential harm, including the high risk of
“serious and life-threatening adverse events” and abuse - which are greatest in non-cancer patients
The FDA also issued a Pub|ic Health Advisory in 200? emphasizing that Fentora should only be
used for cancer patients who are opioid-tolerant and should not be used for any other conditions,
such as migraines, post-operative pain, or pain due to injury.

83. Despite this, Cephalon conducted and continues to conduct a well-funded campaign
to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it was
not approved, appropriate, or safe. As part of this campaign, Cephalon used Cl\/IEs, speaker
programs1 KOLs, journal supplements, and detailing by its sales representatives to give doctors
the false impression that Actiq and Fentora are safe and effective for treating non-cancer pain. For
example: (a) Cephalon paid to have a CME it sponsored, ()pior‘d-Based Managemenr ofPersis!enr
and Break!hrough Pai)r, published in a supplement of Pain Medicine News in 2009_ The CME,
instructed doctors that “clinically, broad classification of pain syndromes as either cancer- or
noncancer-related has limited utility” and recommended Actiq and Fentora for patients with
chronic pain; (b) Cephalon’s sales representatives set up hundreds of speaker programs for

doctors, including many non-oncologists, which promoted Actiq and Fentora for the treatment of

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non-cancer pain; and (c) in December 201 1, Cephalon widely disseminated ajournal supplement
entitled “Specia! Repor!: An lrrfegmred frisk )';`vm'nation and Mirigtrt.ion Srra!eg])for lib)rrcmy!
Birc'ccrf Tabfet (FHNY`ORA) and Oi‘a! }'i‘cr)rsmtrcosm’ Fcrrrr;myf Citr'ate (ACNQ)” to Anes!he.s'iofogy
News, Ch`m`caf Oncor'ogy Nei-vs, and Pain Medicr`ne Nei-vs - three publications that are sent to
thousands of anesthesiologists and other medical professionals The Special Report openly
promotes Fentora for “multiple causes of pain” - and not just cancer pain.

84. Cephalon’s negligent marketing gave doctors and patients the false impression that
Actiq and Fentora were not only safe and effective for treating chronic pain, but were also
approved by the FDA for such uses

85. Purdue unlawfully and unfairly failed to report or address illicit and unlawful
prescribing of its drugs, despite knowing about it for years Purdue’s sales representatives have
maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs
Rather than report these doctors to Illinois medical boards or law enforcement authorities (as
Purdue is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate
the high rate of diversion of OxyContin - the same OxyContin that Purdue had promoted as less
addictive - in order to persuade the FDA to bar the manufacture and sale of generic copies of the
drug because the drug was too likely to be abused. ln an interview with the Los Arrgefes Times,
Purdue’s senior compliance officer acknowledged that in five years of investigating suspicious
pharmacies Purdue failed to take action - even where Purdue employees personally witnessed the
diversion of its drugs The same was true of prescribers; despite its knowledge of illegal
prescribing, Purdue did not report until years after law enforcement shut down a Los Angeles clinic
that prescribed more than 1.1 million OxyContin tablets and that Purdue’s district manager

described internally as “an organized drug ring.” ln doing so, Purdue protected its own profits at

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the expense of public health and safety.

86, The State ofNew York’s settlement with Purdue specifically cited the company for
failing to adequately address suspicious prescribing Yet, on information and belief, Purdue
continues to profit from the prescriptions of such prolific prescribers

87, Like Purdue, Endo has been cited for its failure to set up an effective system for
identifying and reporting suspicious prescribing ln its settlement agreement with Endo, the Illinois
of New York found that Endo failed to require sales representatives to report signs of abuse,
diversion, and inappropriate prescribing; paid bonuses to sales representatives for detailing
prescribers who were subsequently arrested or convicted for illegal prescribing; and failed to
prevent sales representatives from visiting prescribers whose suspicious conduct had caused them
to be placed on a no-call list.

88. As a part of their negligent marketing scheme, the Pharmaceutical Defendants
identified and targeted susceptible prescribers and vulnerable patient populations in the Illinois.
For example, these Defendants focused their negligent marketing on primary care doctors, who
were more likely to treat chronic pain patients and prescribe them drugs, but were less likely to be
educated about treating pain and the risks and benefits of opioids and therefore more likely to
accept Defendants’ misrepresentations

89, The Pharmaceutical Defendants also targeted vulnerable patient populations like
the elderly and veterans, who tend to suffer from chronic pain. These Defendants targeted these
vulnerable patients even though the risks of long-term opioid use were significantly greater for
them. For example the 2016 CDC Guideline observes that existing evidence shows that elderly
patients taking opioids suffer from elevated fall and fracture risks, greater risk of hospitalization,

and increased vulnerability to adverse drug effects and interactions The Guideline therefore

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concludes that there are “special risks of long-term opioid use for elderly patients” and
recommends that doctors use “additional caution and increased monitoring” to minimize the risks
of opioid use in elderly patients The same is true for veterans who are more likely to use anti-
anxiety drugs (benzodiazepines) for post-traumatic stress disorder, which interact dangerously
with opioids

90. The Pharmaceutical Defendants, both individually and collectively, made,
promoted, and profited from their misrepresentations about the risks and benefits of opioids for
chronic pain even though they knew that their misrepresentations were false and negligent The
history of opioids, as well as research and clinical experience over the last 20 years established
that opioids were highly addictive and responsible for a long list ofvery serious adverse outcomes
The FDA and other regulators warned these Defendants of this, and these Defendants had access
to scientific studies, detailed prescription data, and reports of adverse events, including reports of
addiction, hospitalization, and deaths - all of which made clear the harms from long-term opioid
use and that patients are suffering from addiction, overdoses, and death in alarming numbers More
recently, the FDA and CDC have issued pronouncements based on the medical evidence that
conclusively expose the known falsity of Defendants’ misrepresentations and Endo and Purdue
have recently entered agreements prohibiting them from making some of the same
misrepresentations described in this Complaint in New York.

91. Moreover, at all times relevant to this Complaint, the Pharmaceutical Defendants
took steps to avoid detection of and to fraudulently conceal their negligent marketing and unlawful,
unfair, and fraudulent conduct For example the Pharmaceutical Defendants disguised their own
role in the negligent marketing of chronic opioid therapy by funding and working through third

parties like Front Groups and KOLs. These Defendants purposefully hid behind the assumed

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credibility of these individuals and organizations and relied on them to vouch for the accuracy and
integrity of Defendants’ false and negligent Statements about the risks and benefits of long-term
opioid use for chronic pain.

92. The Pharmaceutical Defendants also never disclosed their role in shaping, editing,
and approving the content of information and materials disseminated by these third parties These
Defendants exerted considerable influence on these promotional and “educational” materials in
emails, correspondence and meetings with KOLS, fake independent groups, and public relations
companies that were not, and have not yet become public. For example painknowledge.org,
which is run by the NIPC, did not disclose Endo’s involvementl Other Pharmaceutical Defendants,
such as Purdue and Janssen, ran similar websites that masked their own direct role.

93. Fina|ly, the Pharmaceutical Defendants manipulated their promotional materials
and the scientific literature to make it appear that these items were accurate truthful, and supported
by objective evidence when they were not. These Defendants distorted the meaning or import of
studies they cited and offered them as evidence for propositions the studies did not support The
lack of support for these Defendants’ negligent messages was not apparent to medical
professionals who relied upon them in making treatment decisions

94. Thus, the Pharmaceutical Defendants successfully concealed from the medical
community, municipalities patients, and health care payers facts sufficient to arouse suspicion of
the claims that the Plaintiffs now assert. Plaintiffs did not know of the existence or scope of
Defendants’ industry-wide fraud and could not have acquired such knowledge earlier through the
exercise of reasonable diligence

95. The Pharmaceutical Defendants’ misrepresentations deceived doctors and patients

about the risks and benefits of long-term opioid use Studies also reveal that many doctors and

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patients are not aware of or do not understand these risks and benefits Indeed, patients often report
that they were not warned they might become addicted to opioids prescribed to them. As reported
in January 2016, a 2015 survey of more than 1,000 opioid patients found that 4 out of 10 were not
told opioids were potentially addictive

96, The Pharmaceutical Defendants’ negligent marketing scheme caused and continues
to cause doctors in Illinois to prescribe opioids for chronic pain conditions such as back pain,
headaches arthritis, and fibromyalgia. Absent these Defendants’ negligent marketing scheme
these doctors would not have prescribed as many opioids These Defendants’ negligent marketing
scheme also caused and continues to cause patients to purchase and use opioids for their chronic
pain believing they are safe and effective Absent these Defendants’ negligent marketing scheme
fewer patients would be using opioids long-term to treat chronic pain, and those patients using
opioids would be using less of them.

97, The Pharmaceutical Defendants’ negligent marketing has caused and continues to
cause the prescribing and use of opioids to explode Indeed, this dramatic increase in opioid
prescriptions and use corresponds with the dramatic increase in Defendants’ spending on their
negligent marketing scheme Defendants’ spending on opioid marketing totaled approximately 391
million in 2000 By 2011, that spending had tripled to $288 million.

98. The escalating number of opioid prescriptions written by doctors who were
deceived by the Pharmaceutical Defendants’ negligent marketing scheme is the cause of a
correspondingly dramatic increase in opioid addiction, overdose and death throughout the U.S.
and Illinois. ln August 2016, the U.S. Surgeon Genera| published an open letter to be sent to
physicians nationwide enlisting their help in combating this “urgent health crisis” and linking that

crisis to negligent marketing He wrote that the push to aggressively treat pain, and the

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“devastating” results that followed, had “coincided with heavy marketing to doctors . . , [m]any of
[whom] were even taught - incorrectly - that opioids are not addictive when prescribed for
legitimate pain.”

99, Scientific evidence demonstrates a strong correlation between opioid prescriptions
and opioid abuse ln a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has
quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving
prescription opioids for chronic pain account for the majority of overdoses. For these reasons the
CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to
reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”

100. Contrary to the Pharmaceutical Defendants’ misrepresentations most opioid
addiction begins with legitimately prescribed opioids and therefore could have been prevented
had Defendants’ representations to prescribers been truthful ln 2011, ?l% of people who abused
prescription opioids got them through friends or relatives not from pill mills, drug dealers or the
internet. Numerous doctors and substance abuse counselors note that many of their patients who
misuse or abuse opioids started with legitimate prescriptions confirming the important role that
doctors’ prescribing habits have played in the opioid epidemic,

101 . Opioid-related cases of NAS are rising at such a rapid pace that cities counties and
health care systems are unable to keep up logistically.

DISTR]B UTOR DEFENDANTS’ WRONGFUL CONDUCT

102. The supply chain for prescription opioids begins with the manufacture and
packaging of the pills The manufacturers then transfer the pills to distribution companies
including Defendants Cardinal, McKesson, and AmerisourceBergen, which together account for
85-90 % of all revenues from drug distribution in the United lllinois, an estimated $3?8.4 billion

in 2015` The distributors then supply opioids to pharmacies doctors and other healthcare

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providers which then dispense the drugs to patients

103, l\/lanufacturer Defendants and Distributor Defendants share the responsibility for
controlling the availability of prescription opioids Opioid “diversion” occurs whenever the supply
chain of prescription opioids is broken, and the drugs are transferred from a legitimate channel of
distribution or use to an illegitimate channel of distribution or use Diversion can occur at any
point in the opioid supply chain, including at the pharmacy level when prescriptions are filled for
any reason other-than a legitimate medical purpose

104. For example at the wholesale level of distribution, diversion occurs whenever
distributors allow opioids to be lost or stolen in transit, or when distributors fill suspicious orders
of opioids from buyers retailers or prescribers Suspicious orders include orders of unusually
large size orders that are disproportionately large in comparison to the population of a community
served by the pharmacy, orders that deviate from a normal pattern, andi’or orders of unusual
frequency and duration

105. Diversion occurs at the pharmacies including whenever a pharmacist fills a
prescription despite having reason to believe it was not issued for a legitimate medical purpose or
not in the usual course of practice Some of the signs that a prescription may have been issued for
an illegitimate medical purpose include when the patient seeks to fill multiple prescriptions from
different doctors (afk/a doctor shopping), when they travel great distances between the doctor or
their residence and the pharmacy to get the prescription filled, when they present multiple
prescriptions for the largest close of more than one controlled substance or when there are other
"red flags" surrounding the transaction, These signs or "red flags" should trigger closer scrutiny of
the prescriptions by the pharmacy and lead to a decision that the patient is not seeking the

medication for purposes to treat a legitimate medical condition In addition to diversion via

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prescription, opioids are also diverted from retail outlets when stolen by employees or others

106. Diversion occurs through the use of stolen or forged prescriptions at pharmacies
or the sale of opioids without prescriptions including patients seeking prescription opioids under
false pretenses

102v Opioid diversion occurs in Illinois at an alarming rate ln recent years the number
of people who take prescription opioids for non-medical purposes is greater than the number of
people who use cocaine heroin, hallucinogens, and inhalants combined

108. Every year, millions of people in Illinois misuse and abuse opioid pain relievers
that can lead to addiction, neonatal abstinence syndrome overdose and death.

109. Within the last 20 years the abuse of prescription narcotic pain relievers has
emerged as a public health crisis in the Illinois

110_ The dramatic rise in heroin use in recent years is a direct result of prescription
opioid diversion The strongest risk factor for a heroin use disorder is prescription opioid use In
one national study covering the period 2008 to 2010, '??.4% of the participants reported using
prescription opioids before initiating heroin use Another study revealed that 75% of those who
began their opioid abuse in the 20005 started with prescription opioid. The CDC has reported that
people who are dependent on prescription opioid painkillers are 40 times more likely to become
dependent on heroin.

lll. Baby T.W.B., has been significantly damaged by the effects of the Distributor
Defendants' opioid diversion

l 12. Distributor Defendants have a duty to exercise reasonable care under the
circumstances This involves a duty not to create a foreseeable risk of harm to others Additionally,

one who engages in affirmative conduct, and thereafter realizes or should realize that such conduct

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has created an unreasonable risk of harm to another, is under a duty to exercise reasonable care to
prevent the threatened harm.

l 13. In addition to having common law duties the Distributor Defendants are governed
by the statutory requirements of the Controlled Substances Act (“CSA"), 21 U.S.C. § 801 et seq,
and its implementing regulations These requirements were enacted to protect society from the
harms of drug diversion The Distributor Defendants' violations of these requirements show that
they failed to meet the relevant standard of conduct that society expects from them, The Distributor
Defendants’ repeated unabashed, and prolific violations of these requirements show that they have
acted in total reckless disregard

1 14. By violating the CSA, the Distributor Defendants are also liable under the law of
lllinos as herein alleged

l 15. The CSA creates a legal framework for the distribution and dispensing of controlled
substances Congress passed the CSA partly out of a concern about "the widespread diversion of
[controlled substances] out of legitimate channels into the illegal market." H.R, Rep. No. 91-1444,
19?0 U.S.C.C.A.N. at 4566, 45?2.

l 16. Accordingly, the CSA acts as a system of checks and balances from the
manufacturing level through delivery of the pharmaceutical drug to the patient or ultimate user.
Every person or entity that manufactures distributes or dispenses opioids must obtain a
"registration" with the _DEA. Registrants at every level of the supply chain must fulfill their
obligations under the CSA, otherwise controlled substances move from the legal to the illicit
marketplace and there is enormous potential for harm to the public.

ll?. All opioid distributors are required to maintain effective controls against opioid

diversion. They are also required to create and use a system to identify and report downstream

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suspicious orders of controlled substances to law enforcement Suspicious orders include orders
of unusual size orders deviating substantially from the normal pattern, and orders of unusual
frequency To comply with these requirements distributors must know their customers report
susplclous orders conduct due diligence and terminate orders if there are indications of
diversion

118. To prevent unauthorized users from obtaining opioids, the CSA creates a
distribution monitoring system for controlled substances including registration and tracking
requirements imposed upon anyone authorized to handle controlled substances The DEA's
Automation of Reports and Consolidation Orders System ("'ARCOS") is an automated drug
reporting system that records and monitors the flow of Schedule ll controlled substances from
point of manufacture through commercial distribution channels to point of sale ARCOS
accumulates data on distributorsl controlled substances acquisition transactions and distribution
transactions which are then summarized into reports used by the DEA to identify any diversion of
controlled substances into illicit channels of distribution Each person or entity that is registered to
distribute ARCOS Reportable controlled substances must report acquisition and distribution
transactions to the DEA.

119. Acquisition and distribution transaction reports must provide data on each
acquisition to inventory (identifying whether it is e.g.1 by purchase or transfer, return from a
customer, or supply by the Federal Government) and each reduction from inventory (identifying
whether it is e.g., by sale or transfer, thefr, destruction or seizure by Government agencies) for
each ARCOS Reportable controlled substance 21 U.S.C_ § 827(d) (l); 21 C.F.R. §§ 1304,33(e),
(d). lnventory that has been lost or stolen must also be reported separately to the DEA within one

business day of discovery of such loss or theft

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120. In addition to filing acquisitionr'distribution transaction reports each registrant is
required to maintain a complete accurate and current record of each substance manufactured
imported, received, sold, delivered, exported, or otherwise disposed of. 21 U.S.C. §§ 82?(a)(3),
1304.2l(a), l304.22(b), lt is unlawful for any person to negligently fail to abide by the
recordkeeping and reporting requirements

121. To maintain registration, distributors must also maintain effective controls against
diversion of controlled substances into other than legitimate medical, scientific and industrial
channels When determining if a distributor has provided effective controls the DEA
Administrator refers to the security requirements set forth in §§ 130 1512-1301 .76 as standards for
the physical security controls and operating procedures necessary to prevent diversion. 21 CFR §
1301,'1`1.

122. For years the Distributor Defendants have known of the problems and
consequences of opioid diversion in the supply chain and have committed repeated violations of
the laws and regulations of the Illinois as cited above consequently making them liable under
Illinois law.

123. To combat the problem of opioid diversion, the DEA has provided guidance to
distributors on the requirements of suspicious order reporting in numerous venues, publications
documents and final agency actions Since 2006, the DEA has conducted one-on-one briefings
with distributors regarding their downstream customer sales due diligence responsibilities and
legal and regulatory responsibilities (including the responsibility to know their customers and
report suspicious orders to the DEA). The DEA provided distributors with data on controlled
substance distribution patterns and trends including data on the volume of orders frequency of

orders and percentage of controlled vs non-controlled purchases The distributors were given case

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studies legal findings against other registrants and ARCOS profiles of their customers whose
previous purchases may have reflected suspicious ordering patterns The DEA emphasized the
"red flags" distributors should look for to identify potential diversion

124. Since 200?, the DEA has hosted no less than five conferences to provide opioid
distributors with updated information about diversion trends The Defendant Distributors attended
at least one of these conferences which allowed for questions and discussions The DEA has
participated in numerous meetings and events with the legacy Healthcare Distribution
Management Association (HDMA), now known as the Healthcare Distribution Alliance (HAD),
an industry trade association for wholesalers and distributors DEA representatives have provided
guidance to the association concerning suspicious order monitoring, and the association has
published guidance documents for its members on suspicious order monitoring, reporting
requirements and the diversion of controlled substances

125. On September 2'?`, 2006 and Deoember 2?, 200'?, the DEA Of`fice of Diversion
Control sent letters to all registered distributors providing guidance on suspicious order monitoring
of controlled substances and the responsibilities and obligations of the registrant to conduct due
diligence on controlled substance customers as part of a program to maintain effective controls
against diversion.

126_ The September 2?`, 2006 letter reminded registrants that they were required by law
to exercise due diligence to avoid filling orders that could be diverted into the illicit market The
DEA explained that as part of the legal obligation to maintain effective controls against diversion,
the distributor was required to exercise due care in confirming the legitimacy of each and every
order prior to filling lt also described circumstances that could be indicative of diversion including

ordering excessive quantities of a limited variety of controlled substances while ordering few if

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any other drugs; disproportionate ratio of ordering controlled substances versus non-controlled
prescription drugs the ordering of excessive quantities of a limited variety of controlled substances
in combination with lifestyle drugs; and ordering the same controlled substance from multiple
distributors The letter went on to describe what questions should be answered by a customer when
attempting to make a determination ifthe order is indeed suspicious

127. On Deoember 2?, 200?`1 the Office of Diversion Control sent a follow-up letter to
DEA registrants providing guidance and reinforcing the legal requirements outlined in the
September 2006 correspondence The letter reminded registrants that suspicious orders must be
reported when discovered and monthly transaction reports of excessive purchases did not meet the
regulatory criteria for suspicious order reporting The letter also advised registrants that they must
perform an independent analysis of a suspicious order prior to the sale to determine if the controlled
substances would likely be diverted, and that filing a suspicious order and then completing the sale
does not absolve the registrant from legal responsibility Finally, the letter directed the registrant
community to review a recent DEA action that addressed criteria in determining suspicious orders
and their obligation to maintain effective controls against diversion.

128. The Distributor Defendants’ own industry group, the Healthcare Distribution
Management Association, published lndustry Compliance Guidelines titled "Reporting Suspicious
Orders and Preventing Diversion of Controlled Substances," emphasizing the critical role of each
member of the supply chain in distributing controlled substances

129. These industry guidelines Stated: "At the center of a sophisticated supply chain,
distributors are uniquely situated to perform due diligence in order to help support the security of
controlled substances they deliver to their customers."

130, Opioid distributors have admitted to the magnitude of the problem and, at least

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superficially, their legal responsibilities to prevent diversion. They have made Statements assuring
the public they are supposedly undertaking a duty to curb the opioid epidemic.

131 . For example a Cardinal executive claimed that Cardinal uses “advanced analytics"
to monitor its supply chain. l-le further extolled that Cardinal was being "as effective and efficient
as possible in constantly monitoring, identifying, and eliminating any outside criminal activity."
(emphasis added)‘

132_ McKesson has publicly Stated that it has a "best-in-class controlled substance
monitoring program to help identify suspicious orders" and claimed it is "deeply passionate about
curbing the opioid epidemic in our Country."

133. These assurances on their face ofidentifying and eliminating criminal activity and
curbing the opioid epidemic create a duty for the Distributor Defendants to take reasonable
measures to do just that,

134. ln addition to the obligations imposed by law, through their own words
representations and actions the Distributor Defendants have voluntarily undertaken a duty to
protect the public at large against diversion from their supply chains and to curb the opioid
epidemic. ln this voluntary undertaking, the Distributor Defendants have lniserably and
negligently failed

135. The Distributors Defendants have knowingly or negligently allowed diversion.
Their wrongful conduct and inaction have resulted in numerous civil fines and other penalties
recovered by Illinois and federal agencies- including actions by the DEA related to violations of
the Controlled Substances Act.

136. ln 2008, Cardinal paid a $34 million penalty to settle allegations about opioid

diversion taking place at seven of its warehouses in the United Illinois ln 2012, Cardinal reached

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an administrative settlement with the DEA relating to opioid diversion between 2009 and 2012 in
multiple states ln Deoember 2016, a Department of Justice press release announced a multi-
ntillion dollar settlement with Cardinal for violations of the Controlled Substances Act. ln
connection with the investigations of Cardinal, the DEA uncovered evidence that Cardinal's own
investigator warned Cardinal against selling opioids to certain pharmacies

137. ln May 2008, McKesson entered into a settlement with the DEA on claims that
McKesson failed to maintain effective controls against diversion of controlled substances
McKesson allegedly failed to report suspicious orders from rogue lnternet pharmacies around the
Country, resulting in millions of doses of controlled substances being diverted McKesson agreed
to pay a $13,25 million civil fine McKesson also was supposed to implement tougher controls
regarding opioid diversion. McKesson utterly failed McKesson's system for detecting "suspicious
orders" from pharmacies was so ineffective and dysfunctional that at one of its facilities in
Colorado between 2008 and 2013, it filled more than 1.6 million orders for tens of millions of
controlled substances but it reported just 16 orders as suspicious all from a single consumer. ln
2015, McKesson was in the middle of allegations concerning its "suspicious order reporting
practices for controlled substances " In early 201?, it was reported that McKesson agreed to pay
$150 million to the government to settle certain opioid diversion claims that it allowed drug
diversion at 12 distribution centers in 11 states

138, ln 2001 AmerisourceBergen lost its license to send controlled substances from a
distribution center amid allegations that it was not controlling shipments of prescription opioids to
lnternet pharmacies Again in 2012, AmerisourceBergen was implicated for failing to protect
against diversion of controlled substances into non-medically necessary channels lt has been

reported that the U.S. Department of Justice has subpoenaed AmerisourceBergen for documents

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in connection with a grand jury proceeding seeking information on the company's “program for
controlling and monitoring diversion of controlled substances into channels other than for
legitimate medical, scientific and industrial purposes.”

139. Relying upon state laws and regulation, various state boards of pharmacy have
directly disciplined the wholesale distributors of prescription opioids for failure to prevent
diversion a duty recognized under Illinois laws and regulations

140. Although distributors have been penalized by law enforcement authorities these
penalties have not changed their conduct They pay fines as a cost of doing business in an industry
that generates billions of dollars in revenue and profit

141. The Distributor Defendants have the ability and owe the duty to prevent opioid
diversion, which presented a known or foreseeable risk of damage to Plaintift` and the Class

142, The Distributor Defendants have supplied massive quantities of prescription
opioids in Illinois with the actual or constructive knowledge that the opioids were ultimately being
consumed by citizens for non-medical purposes Many of these shipments should have been
stopped or investigated as suspicious orders but the Distributor Defendants negligently or
intentionally failed to do so.

143. Each Distributor Defendant knew or should have known that the amount of the
opioids that it allowed to flow into illinois was far in excess of what could be consumed for
medically-necessary purposes in the relevant communities (especially given that each Distributor
Defendant knew it was not the only opioid distributor servicing those communities).

144. The Distributor Defendants negligently or intentionally failed to adequately control
their supply lines to prevent diversion A reasonably-prudent distributor of Schedule ll controlled

substances would have anticipated the danger of opioid diversion and protected against it by, for

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example taking greater care in hiring, training, and supervising employees providing greater
oversight, security, and control of supply channels looking more closely at the pharmacists and
doctors who were purchasing large quantities of commonly-abused opioids in amounts greater
than the populations in those areas would warrant; investigating demographic or epidemiological
facts concerning the increasing demand for narcotic painkillers in lllinois; providing information
to pharmacies and retailers about opioid diversion; and in general, simply following applicable
statutes regulations professional standards and guidance from government agencies and using a
little bit of common sense

`145_ On information and belief, the Distributor Defendants made little to no effort to
visit the pharmacies servicing patients and citizens of Illinois to perform due diligence inspections
to ensure that the controlled substances the Distributors Defendants had furnished were not being
diverted to illegal uses

146_ On information and belief, the compensation the Distributor Defendants provided
to certain of their employees was affected, in part, by the volume of their sales of opioids to
pharmacies and other facilities servicing the patients and citizens of Illinois thus improperly
creating incentives that contributed to and exacerbated opioid diversion and the resulting epidemic
of opioid abuse

142v _lt was reasonably foreseeable to the Distributor Defendants that their conduct in
flooding the consumer market of Illinois and in the geographic area served by its hospitals with
highly-addictive opioids would allow opioids to fall into the hands of children, addicts criminals
and other unintended users

148. lt is reasonably foreseeable to the Distributor Defendants that, when unintended

users gain access to opioids tragic preventable injuries will result, including neo-natal addiction

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and NAS.

149. The Distributor Defendants knew or should have known that the opioids being
diverted from their supply chains would create access to opioids by unauthorized users wlrich, in
turn, perpetuates the cycle of addiction, demand, illegal transactions economic ruin, and human
tragedy.

150 The Distributor Defendants knew or should have known that a substantial amount
of the opioids dispensed to patients and citizens of lllinois were being dispensed based on invalid
or suspicious prescriptions lt is foreseeable that filling suspicious orders for opioids will cause
harm to individual pharmacy customers third-parties Plaintiff and the Class.

151_ The Distributor Defendants were aware of widespread prescription opioid abuse of
persons who would become patients in Illinois but they nevertheless persisted in a pattern of
distributing commonly abused and diverted opioids in geographic areas-and in such quantities and
with such frequency- that they knew or should have known these commonly abused controlled
substances were not being prescribed and consumed for legitimate medical purposes

152. If` any of the Distributor Defendants adhered to effective controls to guard against
diversion, the Class would have avoided significant damages

153_ The Distributor Defendants made substantial profits over the years based on the
diversion of opioids affecting Illinois Their participation and cooperation in a common enterprise
has foreseeably caused damages to Plaintiff and the Class The Distributor Defendants knew full
well that Plaintiff and the Class would be unjustly forced to bear these injuries and damages

154. The Distributor Defendants' intentional distribution of excessive amounts of
prescription opioids to communities showed an intentional or reckless disregard for Plaintiff and

the Class Their conduct poses a continuing economic threat to the communities that must deal

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with ongoing needs of children afflicted with NAS.

CLASS ACTION ALLEGATIONS

155. Plaintiffs seek to represent the following class ofindividuals:
Aii persons under the age of eighteen who were diagnosed with neonarof abstinence syndrome
(NAS) and whose birth mother ( 1') used opioids during gestaiioi) and (2) had a medicai
prescription for opioids before or during the ge.sra!iou period

156. Excluded from the Class are children of the Defendants and their officers directors
and employees as well as the Court and its personnel

15?, Plaintiff and all others similarly situated are entitled to have this case maintained
as a class action pursuant to Federal Rules of Civil Procedure for the following reasons

158. The prerequisites for a class action under Federal Rule of Civil Procedure 23(a) are

met.

a. The class is so numerous that joinder of all persons is impracticable Although the
precise number of children in the Class is currently unknown, Plaintiff believes that
the putative class is in the thousands if not more

b. There are common issues of law and fact, particularly whether Defendants' and their
agents' policies and procedures that encouraged the continued use and abuse of
opioids despite knowing the dangers caused harm to the Class

c. Plaintiff`s claims are typical of the class Plaintiff s injuries are typical of the
experience of the Class Members having suffered personal injury and increased
health risks necessitating medical monitoring and future medical treatment, that are

typical of the experience of the Class l\/lembers Plaintiff`s interests are identical to

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and aligned with those of other Class Members. Plaintiffs and the Class Members
have suffered an array of damages all stemming from the common trunk of facts and

issues related to exposure to Defendants’ manufacture and distribution of opioids

d Plaintiff will fairly and adequately represent and protect the interests of the class
because
i. Plaintiff has retained counsel experienced in the prosecution of class action
litigation who will adequately represent the interests of the class
ii, Plaintiff and counsel are aware of no conflicts of interest between Plaintiff
and absent Class l\/lembers or otherwise that cannot be managed through the
implementation of available procedures
iii. Plaintiff has or can acquire adequate financial resources to assure that the
interests of the class will be protected; and
iv, The guardian of Plaintiff Baby Doe is knowledgeable concerning the subject
matter of this action and will assist counsel in the prosecution of this litigation
162. Further, any denial of liability and defenses raised by the Defendants would be
applicable to all claims presented by all members of the class or can otherwise be managed through
available procedures
163. Defendants’ conduct presents predominant common factual questions This class
is bound together by the common factual questions relating to whether the Defendants’ tortious
activities led to physicians over-subscription of opioids and created a diversionary market for
opioids thus certification is proper under Rule 23 (C)(4). Regardless of whether Plaintiffs and the

Class Members are presenting individualized damages such as pain & suffering they will present

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common liability proof that is the same for each member of the Class. Across claim categories
Plaintiffs’ common proof ofDefendants’ liability will involve the same cast of characters events
discovery, documents fact witnesses and experts

164. The need for proof of Plaintiffs’ and Class l\/lembers’ damages will not cause
individual issues to predominate over common questions The amounts of economic and non-
economic losses can be efficiently demonstrated either at trial or as part of routine claims
administration through accepted and court-approved methodologies set forth in the Federal Manual
for Complex Litigation with the assistance of court-appointed personnel, including Special
Masters, Certain types or elements of damage explained below as appropriate under Federal Rule
of Civil Procedure 23(B)(2) are subject to proof using aggregate damage methodologies or simply
rote calculation and summation on a class-wide basis while individual damages may be determined
via the mechanisms explained above

165. A class action is superior to maintenance ofthese claims on a claim-by-claim basis
when all actions arise out of the same circumstances and course of conduct A class action allows
the Court to process all rightful claims in one proceeding Class litigation is manageable
considering the opportunity to afford reasonable notice of significant phases of the litigation to
Class Members and permit distribution of any recovery. The prosecution of separate actions by
individual Class Members, or the individual joinder of all Class Members in this action, is
impracticable and would create a massive and unnecessary burden on the resources of the courts
and could result in inconsistent adjudications while a single class action can determine with
judicial economy, the rights of each member of the class or subclasses should that be determined

to be appropriate

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166. The conduct of this action as a class action conserves the resources of the parties
and the court system1 protects the rights of each member of the class and meets all due process
requirements

16?. Certifrcation ofthe Class with respect to particular common factual and legal issues
concerning liability and comparative fault, as well as the necessary and appropriate quantum of
punitive damages or ratio of punitive damages to actual harm, is appropriate under Federal Rule
of Civil Procedure 23(c)(4).

168_ The particular common issues of liability, comparative fault, and the quantum of
punitive damages or ratio of punitive damages to actual harm, are common to all Class Members
no matter what type of harm or injury was suffered by each Class Member.

169. A class action may be maintained under Federal Rule of Civil Procedure 23(b)(2)
because Defendants have acted or refused to act on grounds that apply generally to the Class,
thereby making appropriate the entry of equitable andior injunctive relief, including a medical
monitoring protocol and treatment programs and injunctive relief to prevent recurrence of the
conduct in the future

170 As a result of Defendants' negligent conduct, the Rule 23(b)(2) Class Members are
at increased risk of NAS and developmental issues Early detection of neonatal exposure and
developmental issues through examination and testing, with treatment as necessary, has significant
value for Rule 23(b)(2) Class Members because such detection will help Class Members monitor,
minimize and treat the harm therefrom Due to neonatal opioid exposure by the Rule 23(b)(2) Class
Members surveillance surveillance in the form of periodic medical examinations and treatment
is reasonable and necessary, because such surveillance will provide early detection, diagnosis and

treatment of NAS and its effects As a remedy for the negligent and unconscionable conduct

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alleged in this Complaint, Defendants should be required to fund a medical monitoring and
treatment program designed to identify and combat NAS and its effects on the Class and provide
desperately needed neonatal care and treatment programs as NAS affected children develop.

1?1. The particular common issues ofliability, comparative fault, and the quantum of
punitive damages or ratio of punitive damages to actual harm, are common to all Class Members
no matter what type of harm or injury was suffered by each Class Member.

CAUSES OF ACTION
COUNT I: NUISANCE

1?2. The Plaintiff reasserts the allegations of the foregoing paragraphs as if set forth
fully herein

1?3. The nuisance is the over-saturation of opioids in Illinois for non-medical purposes
as well as the adverse socia|, economic, and human health outcomes associated with widespread
illegal opioid use, including the increasing incidence ofNAS.

l'i4. All Defendants substantially participated in nuisance-causing activities

175, Defendants' nuisance-causing activities include selling or facilitating the excessive
sale of prescription opioids to the patients and citizens oflllinois, as well as to unintended users
including newborns and children, people at risk of overdose and criminals

1?6. Defendants' nuisance-causing activities also include failing to implement effective
controls and procedures in their supply chains to guard against theft, diversion and misuse of
controlled substances and their failure to adequately design and operate a system to detect, halt
and report suspicious orders of controlled substances

`1??. Defendants' activities unreasonably interfere with the rights of Plaintiff and the

Class

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1?8_ The Defendants' interference with these rights of Plaintiff and the Class is

unreasonable because it:

a. Has harmed and will continue to harm the children and Public health services of
lllinois;
b. ls proscribed by statutes and regulation, including the CSA, pharmacy regulations

and the consumer protection statute
c. ls of a continuing nature and it has produced long-lasting effects and

d Defendants have reason to know their conduct has a significant effect upon Plaintiff
and the Class

179, The nuisance undermines public health, quality oflife, and safety. lt has resulted in
high rates of addiction, overdoses dysfunction, and despair within families and entire
communities

180. The resources of the communities of the Plaintiff and the Class are insufficient to
deal with needs created by the Opioid Crisis, and these limited resources are being unreasonably
consumed in efforts to address the Crisis, including efforts to address the overwhelming number
of children born with NAS,

181. Defendants' nuisance-causing activities are not outweighed by the utility of
Defendants' behavior. ln fact, their behavior is illegal and has no social utility whatsoever_ There
is no legitimately recognized societal interest in failing to identify, halt, and report suspicious
opioid transactions There is no legitimate societal interest in Manufacturer Defendants
dissemination of false “scientific” facts and advice

182, At all times all Defendants possessed the right and ability to control the nuisance-
causing outflow of opioids from pharmacy locations or other points of sale Pharmaceutical
Defendants flooded the distribution channels and the geographic and demographic area of Illinois

with opioid pills Distributor Defendants had the power to shut offthe supply of illicit opioids to

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patients and consumers oflllinois, yet did the opposite by flooding the U.S` with opioid pills The
Pharmacy Defendants aided and abetted this nuisance by failing to heed their own internal data
on the extent of opioid prescriptions

183. As a direct and proximate result ofthe nuisance, the communities of Plaintiff and

the Class have born a great burden trying to remedy the harms caused by Defendants' nuisance-
causing activity, including, but not limited to, costs of hospital services counseling, healthcare,
and child services

]84_ PlaintiffBaby T.W.B. has also suffered unique harms different from the public at

large, namely, that Plaintiff personally suffers NAS.

185. The effects of the nuisance can be abated, and the further occurrence of such harm

can be prevented All Defendants share in the responsibility for doing so.

l 86. Defendants should be required to pay the expenses Plaintiff and the Class and their

communities have incurred or will incur in the future to liilly abate the nuisance
COUNT II: NEGLIGENCE AND GROSS NEGLIGENCE

18?`, The Plaintiff reasserts the allegations of the foregoing paragraphs as if set forth
fully herein.

188, Defendants owe a non-delegable duty to Plaintiff Baby T,W.B. and the Class to
conform their behavior to the legal standard of reasonable conduct under the circumstances in the
light of the apparent risks

189. There is no social value to Defendants' challenged behavior, In fact, Defendants'
entire conduct, behavior, actions, misrepresentations conspiracies and omissions are against the
law.

190, On the other hand, there is immense social value to the interests threatened by

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Defendants' behavior, namely the health, safety, and welfare of Plaintiff Baby T.W,B, and the
Class and its patients

l91. Defendants' behavior caused a substantial injury and damage to Plaintiff Baby
T.W.B. and the Class.

192_ Defendants’ conduct fell below the reasonable standard of care and was negligent
Their negligent acts include:

a. Consciously supplying the market in the geographic area served by Plaintiff Baby
T.W.B. and the Class with highly-addictive prescription opioids, including
misrepresenting understating, or obfuscating the highly addictive propensities of
opioid pills;

b. Using unsafe marketing, labeling, distribution, and dispensing practices, including
failing to warn or advise physicians to conduct an addiction family history of each

and every potential patient;

c. Affirmatively enhancing the risk of harm from prescription opioids by failing to act
as a last line of defense against diversion;

d. Failing to properly train or investigate their employees;

e, Failing to properly review and analyze prescription orders and data for red flags;
f. Failing to report suspicious orders or refuse to fill them;

g. Failing to provide effective controls and procedures to detect and!or guard against

theft and diversion of controlled substances;
h. Failing to police the integrity oftheir supply chains; and

i. Creating misleading information with the intention of having prescribing
physicians rely upon it.

193. Each Defendant had an ability to control the opioids at a time when it knew or
should have known it was passing control of the opioids to an actor iiirther down in the supply
chain that was incompetent or acting illegally and should not be entrusted with the opioids

194. Each Defendant sold prescription opioids in the supply chain knowing (a) there was

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a substantial likelihood many of the sales were for non-medical purposes and, (b) opioids are an
inherently dangerous product when used for non-medical purposes and (c) that every patient,
before being prescribed even one opioid pill, needed to have a complete family history of addiction
to alcohol and drugs, with any such history as a contraindication of any opioid use.

195. Defendants were negligent or reckless in not acquiring and utilizing special
knowledge and special skills that relate to the dangerous activity in order to prevent or ameliorate
such distinctive and significant dangers

196. Controlled substances are dangerous commodities Defendants breached their duty
to exercise the degree of care, prudence, watchtii|ness, and vigilance commensurate to the dangers
involved in the transaction of their business

197, Defendants were also negligent or reckless in failing to guard against foreseeable
third-party misconduct, e.g., the foreseeable conduct of: corrupt prescribers corrupt pharmacists
and staff, and/or criminals who buy and sell opioids for non-medical purposes

198. Defendants are in a limited class of registrants authorized to legally distribute
controlled substances This places Defendants in a position of great trust and responsibility vis-a-
vis PLATNTIFF and its patient communities Defendants owe a special duty to Plaintiff Baby
T.W.B. and the Class . That duty cannot be delegated to another party.

199. PLAINTIFF is without fault, and the injuries to PlaintiffBaby T.W,B_ and the Class
would not have happened in the ordinary course of events if the Defendants used due care
commensurate to the dangers involved in the distribution and dispensing of controlled substances

200. The aforementioned conduct of Defendants proximately caused damage to Plaintiff
Baby T,W.B. and the Class.

COUNT IlI- PERSONAL IN.]URY

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201_ Plaintiff reasserts the allegations in the foregoing paragraphs as if fully set out
herein

202 Plaintiff Baby 'l",W,Bv and all those similarly situated have by definition suffered
personal injury as a related to in utero exposure to opioids resulting in a diagnosis of NAS.

203. PlaintiffBaby T,W,B, and all those similarly situated have incurred medical costs
for the treatment of NAS including but not limited to physician’s care, extended stay in the hospital
after birth and drugs utilized to wean the infants from dependence upon opioids

204, Plaintiff Baby T.W,B, and all those similarly situated have suffered the
aforementioned personal injury of NAS due to the conduct and omissions of the Defendants

205. Medical costs related to the treatment of NAS are readily calculable.

206. PlaintiffBaby T.W.B. and all those similarly situated seek class-wide damages for
the reimbursement of medical costs associated with NAS.

20?. PlaintiffBaby T.W.B. and all those similarly situated seek individual damages for

pain & suffering, emotional distress annoyance and inconvenience

COUNT IV: CIVIL CONSPIRACY

208. Plaintiff reasserts the allegations in the foregoing paragraphs as if fully set out
herein.

209, The Pharmaceutical Defendants continuously supplied prescription opioids to the
Distributor Defendants despite having actual or constructive knowledge that said Distributors were
habitually breaching their common law duties and violating the CSA. The Distributor Defendants
continuously supplied prescription opioids to the Pharmacy Defendants despite having actual or
constructive knowledge that said pharmacies were habitually breaching their common law duties

and violating the CSA.

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210. Without the Distributor Defendants' supply of prescription opioids the Pharmacy
Defendants would not be able to fill and dispense the increasing number of prescription opioids
throughout lllinois.

2ll. No Defendant in this opioid network would have succeeded in profiting so
significantly from the opioid epidemic without the concerted conduct of the other party, and none
would have succeeded so significantly without engaging in the wrongful conduct as herein alleged

2]2. The Pharmaceutical Defendants likewise benefitted from this distribution
conspiracy in that the more pervasive opioid diversion became, the more the Pharmaceutical
Defendants profited. Despite access to the same information in the hands of the Distributor
Defendants the Pharmaceutical Defendants ignored the warning signs of opioid diversion,

213. As a result of the concerted actions between and among the Defendants the
Plaintiff and the class have suffered damages

214. Plaintiff and the Class demand judgment against each Defendant for compensatory
damages

COUNT V- INJUNCTIVE AND EOUlTABLE RELIEF

2l5. Plaintiff reasserts the allegations in the foregoing paragraphs as if fully set out
herein.

216. Plaintiff Baby T.W.B. and those similarly situated face a lifetime oflatent, dread
medical and emotional conditions proven to be linked to in utero exposure opioids including but
not limited to: brain damage muscular-skeletal developmental disorders speech and language
disorders cognitive developmental disorders psychiatric disorders emotional development
disorders behavioral disorders and increased risk of addiction,

21')'. Plaintiff Baby T.W.Bv and those similarly situated will benefit from medical

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monitoring for the aforementioned medical and emotional conditions because testing and
continued monitoring will bring to light the onset of these medical and emotional conditions so
that treatment and intervention may begin at the earliest point possible

218_ Plaintiff Baby T.W.B. and those similarly situated will benefit from a medical
monitoring program featuring an epidemiological component that collects and analyzes medical
monitoring results6 so that other heretofore unrecognized latent, dread diseases that may be
associated with in utero exposure may be identified so that treating professionals may better care
for the Class Members and so that medical professionals engaged in the research and development
of new treatment will have access to a broader universe of data,

2]9. Further, Plaintiff Baby T.W.B. and those similarly situated will require on-going
care for the aforementioned conditions which are known to result from in utero exposure to opioids
including but not limited to medical care, psychiatric care, psychological care, physical therapy,
cognitive therapy and speech therapy.

220. The harm visited upon Plaintiff Baby T.W.B, and those similarly situated is
irreparable

221. Money damages will not suffice because it is impossible to predict with any
certainty the costs of such monitoring and treatment for each individual class member nor is it
possible to predict new treatment and intervention protocol that may be developed as data from
medical monitoring ofthe Class is provided to the medical research community

222. Further, money damages will not suffice because an award of money damages for
future monitoring and treatment would not result in comprehensive programs whereby important

information is shared among the medical community so that new treatments protocols,

 

6 Such epidemiological data will be collectcd, maintained and analyzed in such a manner as to protect the identityr of
individual class members

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intervention and test may be developed

223, Plaintiff Baby T_W.B., on behalf of all those similarly situated, seek a Court
administered fund replenished from time-to-time by the Defendants to achieve such injunctive and
equitable relief as necessary for the continuing benefit of the class

224. Given the immense wealth of the Defendants such injunctive and equitable relief
presents no undue burden or irreparable damage to the Defendants

COUNT Vl- PRODUCTS LIABlLITY

Plaintiff reasserts the allegations in the foregoing paragraphs as if fully set out herein

225. Defendants are liable under the Illinois Products Liability laws as they are sellers
distributors and manufacturers

226. The opioids at issue are a product within the statutory definition of a product
Section 13-2]3(2).

227. As set forth above, the defendants breached the implied warranty of fitness by their
failure to disclose the true nature ofthe drugs

228 As set forth above, the defendants breached express warranties because the drug
did not possess the qualities defendants claimed it did.

COUNT VII- PUNITIVE DAMAGES

229. Plaintiffs re-allege each and every allegation set forth in all preceding paragraphs
as if fully restated herein

230. The conduct of Defendants as set forth herein was malicious oppressive, willful,
wanton, reckless andr'or criminally indifferent to civil obligations affecting the rights of others
including Plaintiffs Plaintiffs and the Class are thus entitled to recover punitive damages against

Defendants

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23l. Defendants were malicious oppressive1 willful, wanton, reckless andr'or criminally
indifferent to civil obligations affecting the rights of others including Plaintiffs in their activities
and in failing to warn Plaintiffs of dangers well known to Defendants which acts exhibited a
deliberate disregard for the rights and safety of Plaintiffs

232_ Defendants realized the imminence of danger to Plaintiffs and other members of
the public1 but continued with deliberate disregard and complete indifference and lack of concern
for the probable consequences of their acts

233_ As a direct result of Defendants’ deliberate disregard for the rights and safety of
others gross negligence, malicious oppressive, willful, wanton, reckless and!or criminally
indifferent to civil obligations affecting the rights of others including Plaintiffs, Plaintiffs suffered
the injuries and dangers stated above

234. Defendants’ acts as described herein exhibited deliberate disregard for the rights
and safety of others and were malicious oppressive, willful, wanton, reckless and!or criminally
indifferent to civil obligations affecting the rights of others including Plaintiffs An award of
punitive and exemplary damages is therefore necessary to punish Defendants and each of them,
and to deter any reoccurrence of this intolerable conduct Consequently, Plaintiffs are entitled to
an award of punitive damages

235. The conduct of Defendants as set forth herein was malicious oppressive, willful,
wanton, reckless andr'or criminally indifferent to civil obligations affecting the rights of others
including Plaintiffs Plaintiffs and the Class are thus entitled to recover punitive damages against
Defendants in an amount sufficient to punish Defendants for their wrongful conduct and to deter

Defendants and others from similar wrongfiil conduct in the future

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PRAYER FOR REL]EF

WHEREFORE, the Plaintiff Baby T.W.B., individually and on behalf of all those similarly

situated prays that the Court grant the following relief:

H.

b.

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injunctive and Equitable Relief ofMedical Monitoring and Continuing Treatment;
Compensatory damages

Restitution;

Punitive Damages;

Attorneys' fees and costs and

All such other relief this Court deemsjust and fair;

Plaintiff seeks a trial by jury for all counts so triable

   

   

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